              Case 22-11068-JTD      Doc 3399-2     Filed 10/27/23     Page 1 of 58




                    IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF DELAWARE

 In re:                                               Chapter 11

 FTX TRADING LTD., et al.,                            Case No. 22-11068 (JTD)

 Debtors.                                             (Jointly Administered)



                   APPENDIX TO MOTION OF PATRICK GRUHN,
                ROBIN MATZKE, AND LOREM IPSUM UG TO DISMISS
              BANKRUPTCY CASE OF MACLAURIN INVESTMENTS, LTD.

          Parties-in-interest Patrick Gruhn, Robin Matzke, and Lorem Ipsum UG submit this

appendix in support of the Motion to Dismiss Bankruptcy Case of Maclaurin Investments, Ltd.:

    Tab No.       Item
    1.            Alameda Ventures Ltd. Certificate of Incorporation
    2.            Certificate of Incorporation of Change of Name to Maclaurin Investments Ltd.
    3.            Memorandum of Association and Articles of Association of Maclaurin
                  Investments Ltd.
    4.            Declaration of Edith Wong with Exhibits




                              [Signature Page Immediately Follows]




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              Case 22-11068-JTD   Doc 3399-2    Filed 10/27/23    Page 2 of 58




 Respectfully submitted,

 Dated: October 27, 2023
 Wilmington, Delaware

 /s/ Laura Davis Jones ________________
 Laura Davis Jones (DE Bar No. 2436)           THE DALEY LAW FIRM LLC
 Peter J. Keane (DE Bar No. 5503)              Darrell Daley (admitted pro hac vice)
 PACHULSKI STANG ZIEHL & JONES LLP             Samantha Neal (admitted pro hac vice)
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                                               Counsel to Lorem Ipsum UG, Patrick
                                               Gruhn, and Robin Matzke




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Case 22-11068-JTD   Doc 3399-2   Filed 10/27/23   Page 3 of 58




            Tab 1
                                        Case 22-11068-JTD                Doc 3399-2          Filed 10/27/23          Page 4 of 58
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                                                                     Republic of Seychelles
                                                      INTERNATIONAL :BUSINESS COMPANIES ACT, 2016
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                                                                                                                                    REGISTRAR OF l!lffE·R;iATIONAL
                                                                                                                                       BUSINESS COMPJlJltlES
                                                                     {Act 15 of 2016)


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     TlllS IS TO CERTIFY that, having satisfied all the requirements in respect of incorporation under the International Business
     Companies Act, 2016,
                                                       Alameda Ventures Ltd

     is incorporated in the Republic of Seychelles as an International Business Company.

     on this 23rd day of December 2019

     Given at Victoria, Seychelles.




         CompanyJ'J( 217617                                                      REGISTRAR OF                                      BUSINESS COMPANIES


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Case 22-11068-JTD      Doc 3399-2         Filed 10/27/23    Page 5 of 58




                                 APOSTILLE
                  (Convention de la Haye du 5 Octobre 1961)

        1. Country:        REPUBLIC OF SEYCHELLES
             This public document
        2.   has been signed by           RANDOLF SAMSON
        3. acting in the capacity of         REGISTRAR
        4.   bears the seal/stamp of         REGISTRAR OF INTERNATIONAL
             BUSINESS COMPANIES, REPUBLIC OF SEYCHELLES
                                 Certified
        5.   at   VICTORIA            6      02ND OCTOBER 2023
        7.   by    M-A. BARBE, DEPUTY REGISTRAR, SUPREME COURT
        8. No.      ~Ff:ltll'   023
        9.                            1O. Signature
Case 22-11068-JTD   Doc 3399-2   Filed 10/27/23   Page 6 of 58




            Tab 2
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                                                         JNTER.i~ATIONAL BUSINESS COMPANIES ACT, 201,                                                                                       BUSINESS COMPANIES
                                                                         (Act 15 of2016)




THIS IS TO CERTIFY that,
                                                                                                  Alameda Ventures Ltd

has changed its name and is now incorporated under the name of

                                                                                             Maclaurin Investments Ltd.

on this 26 th day of .September 2022

Given at Victoria) Seychelles.


                                                                                                                for REGISTRAR OF INTERNATIONAL BUSINESS COMPANIES
                                                                                                                                                                   t·
Case 22-11068-JTD      Doc 3399-2        Filed 10/27/23   Page 8 of 58




                               APOSTILLE
                  (Convention de la Haye du 5 Octobre 1961)

        1. Country:        REPUBLIC OF SEYCHELLES
             This public document
        2.   has been signed by          RANDOLF SAMSON
        3.   acting in the capacity of     REGISTRAR
        4.   bears the seal/stamp of       REGISTRAR OF INTERNATIONAL
             BUSINESS COMPANIES, REPUBLIC OF SEYCHELLES
                               Certified
        5. at     VICTORIA        6        02ND OCTOBER 2023
        7.   by    M-A. BARBE, DEPUTY REGISTRAR, SUPREME COURT
        8. No. 9
        9. Seal/                       . Signature
Case 22-11068-JTD   Doc 3399-2   Filed 10/27/23   Page 9 of 58




            Tab 3
Case 22-11068-JTD        Doc 3399-2        Filed 10/27/23        Page 10 of 58




                                SEYCHELLES

         THE INTERNATIONAL BUSINESS COMPANIES ACT 2016



                    MEMORANDUM OF ASSOCIATION

                                     AND

                       ARTICLES OF ASSOCIATION

                                      OF

                         Maclaurin Investments Ltd.
                                                                REG ISTRf..R 11F ltffERNAT/ONAL
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                                                                  REP iJ;sl 1,; ,;;:- n =,·,: HELLES

                    A COMPANY LIMITED BY SHARES                           Z6 Sf:.P 2022
                                                            I
                                                            I_____ _
                       Company registration no: 21 7617

        This document replaces in its entirety the Company's original
  Memorandum and Articles of Association dated the 23 rd day of December 2019



           Incorporated in Seychelles the 23rd day of December 1019
                As amended on the 26th day of September 2022




       Registered Agent: STERLING TRUST & FIDUCIARY LIMITED
        F20, 1st Floor, Eden Plaza. Eden Island, Republic of Seychelles




                                                      REGISTRAR OF INTERNATI ONAL
                                                         B USINESS COMPANIES
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                                                     REGISTRAR OF INTERNAT·l~;;;;:~----
                                                        B USINESS COMPANIES
       Case 22-11068-JTD             Doc 3399-2            Filed 10/27/23           Page 11 of 58




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                  THE INTERNATIONAL BUSINESS COMPANIES ACT 2016

                              MEMORANDUM OF ASSOCIATION

                                                    OF
                                                                                   REGl!':TRAR OF JNT~RNATIONAL
                                     Maclaurin Investments Ltd.                        fUS!NErjS c;i.,PANIES
                                                                                     REPU31)~ '.)f-" SEYCHELLES

                                            (the "Company")                                2BSEP 1022
                                                                               I
I.        DEFINITIONS AND INTERPRETATION
                                                                               L __ _________,
I. l      In the Memorandum and the Articles, if not inconsistent with the context:
          ..Act.. means the International Business Companies Act 2016 and includes any regulations
          made under the Act;

         "Articles" means the attached articles of association of the Company as amended from time to
         time:

         --authorised capital", in relation to the Company. means the maximum amount of share capital
         that it is authorised by the Memorandum to issue;

         "beneficial owner" means. for the purposes of Article 9 and IO. as defined in Article 9.3;

         "'Board" means the board of directors of the Company from time to time;

         ""bonus Share" means a Share issued for no consideration to an existing Shareholder. which
         shall be treated in all respects as having been a fully paid Share on issue;

         "Chairman of the Board" means as defined in Article 13;

         ·'charge"' means any fonn of security interest, including, without limitation, a charge, by way
         of fixed or floating charge, a mortgage, a pledge or a hypothecation, over property, wherever
         situated, other than an interest arising by operation of law;

         "Distribution", in relation to a distribution by the Company to a Shareholder:

         (a)     means the direct or indirect transfer of an asset. other than Shares, to or for the benefit
                 of the Shareholder, or the incurring of a debt to or for the benefit of the Shareholder, in
                 relation to Shares held by the Shareholder, and whether by means of the purchase of an
                 asset, the purchase, redemption or other acquisition of Shares, a transfer of
                 indebtedness or othetwise, and includes a Dividend; but

         (b)     does not include a distribution by way of a distribution of assets to Shareholders on the
                 Company's winding up;

         "Di\'idend" means every Distribution of the Company"s assets to its Shareholders, except
         Distributions by way of:

         (a)     an issue of Shares as bonus Shares;                     REGISTRAR OF INTERNATIONAL
                                                                            BUSINESS COMPANIES
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                                                                           BUSINESS COMPANIES
Case 22-11068-JTD              Doc 3399-2           Filed 10/27/23          Page 12 of 58




                                               3



   (b)     a redemption or purchase of any of the Company's own Shares or financial assistance
           for a purchase of the Company's own Shares~ or

   (c)     a reduction ofSJ1are capital:

   "listed company" means. for the purposes of Article 9 and 10, a company whose securities are
   listed on a recognised exchange or a company which is a subsidiary of a body corporate,
   partnership or trust whose securities are listed on a recognised exchange;

  "Member" means a Shareholder;

  "Memorandum" means this Memorandum of Association of the Company as amended from
  time to time;

  "ordinary resolution·• means:

  (a)     a resolution passed at a meeting of Shareholders on a show of hands by in excess of
          half of the Shareholders who, being entitled to do so. vote in person or by proicy on the
          resolution; or

  (b)     a resolution passed at a meeting of Shareholders on a poll taken by Shareholders
          representing in excess of half of the total votes of the Shareholders who, being entitled
          to do so, \'Ote in person or by proxy on the resolution; or

  (c)     a resolution passed and consenred to in writing by Shareholders representing in excess
          of half of the total votes of the Shareholders entitled to vote on the resolution;

  "person" includes an individual, a corporation, a foundation, a trust (acting by its trustees), the
  estate of a deceased individual, a partnership and nn unincorporated association of persons;

  "pledge" means any fonn of security interest, including a pledge, a charge or a hypothecation
  over one or more shares in a company, other than an interest arising by operation of law, and
  "pledged", ·'pledgee•· and ')>ledgor" shall be construed accordingly;

  "recognised exchange" means a securities exchange licensed under the Securities Act 2007, a
  recognised overseas securities exchange as defined in the Securities Act 2007 or any other
  exchange that is a member of the World Federation of Exchanges;

  ·'R1:gistcr or Beneficial Owners" means as defmed in Article 9.1;
                                                                    .---REGISTRAR
                                                                         ---- -OF~INTERNATIONAL
                                                                                   ---- - -~
  "Register of Charges" means as defined in Article 16.2;                     BUSINESS COMPANIES
                                                                            CERTIFIED TRUE COPY
  "Register of Directors" means as defined in Article 11.25;

  "Register of Members" means as defined in Article 2.7;                         26 SEP 2023
  "Registrar" means the Registrar as defmcd in the Act;              ·----·----- _ 3 : ) --··--·--···----·---···--
                                                                        REGISTRAR OF INTERNATIONAL
                                                                           BUSINESS COMPANIES
  "resolution of directors" means~

  (a)     a resolution passed at a meeting of directoIS of the Company by the affirmative \'ote of
          in excess of half of the directors present at the meeting who were present at the meeting
          and entitled to vote on the resolution; or
  Case 22-11068-JTD               Doc 3399-2           Filed 10/27/23         Page 13 of 58



                                                   4


       (b)     a resolution passed and consented to in writing by directors of the Company
               representing in excess of half of the total voles of directors entitled to vote on the
               resolution and without the need for any notice;

       "Seal'' means any seal which l1as been adopted as the common seal of the Company:

       "Securities·•, in relation to the Company, means as defined in section 2(1) of the Securities Act
       2007, including Shares and debt obligations ofevery kind ofthe Company and options, warrants
       and other rights to acquire Shares or the Company's debt obligations;

      "Share" means a par value share issued or to be issued by the Company;

      "share capital"', in relation to the Company, means the sum of the aggregate par value of all
      the issued and outstanding par value shares of the company and shares with par value held by
      the Company as Treasury Shares and the amounts as may be from time to time transferred from
      surplus to share capital by a resolution of the directors;

      "Shareholder" means a person whose name is entered in the Company•s Register of Members
      as the holder of one or more Shares or fractional Shares;

      "special resolution" means:

      (a)     a resolution passed at a meeting of Shareholders on a show of hands by not less than
              two-thirds of the Shareholders who, being entitled to do so, vote in person or by proxy
              on the resolution; or

      (b)     a resolution passed at a meeting of Shareholders on a poll taken by Shareholders
              representing not less than two-thirds of the to1al votes of the Shareholders who, being
              entitled to do so, vote in person or by proxy on the resolution; or

      (c)     a resolution passed and consented to in writing by Shareholders representing not less
              than two-thirds of the total votes of the Shareholders entitled to vote on the resolution;

      "surplus", in relation to the Company, means the excess, if any. at the time of the
      determination, of total assets of the Company over the sum of its total liabilities, as shown in
      the books of account plus its share capital;

      "Treasury Share" means a Share that was previously issued but was repurchased, redeemed
      or otherwise acquired by the Company and not cancelled; and

      "written" or any term of like import includes all fonns ofw.riting, including (but not limited
      to) information generated, sent, received or stored by electronic, electrical, digital, magnetic,
      optical, electromagnetic, biomelric or photonic means, including electronic data interchange,
      electronic mail, telegram, telex or telecopy, and "io writing" shall be construed accordingly.

1.2   In the Memorandum and the Articles, unless the context othenvise requires a reference to:

      (a)     an ..Article" is a reference to a clause of the Articles;

      (b)     a "Clause" is a reference to a clause of the Memorandum;

      (c)     the Act or other legislation is a reference to the Act or other legislation as extended,
              applied, amended orre•enacted and includes any subordinate legislation; and

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      Case 22-11068-JTD              Doc 3399-2          Filed 10/27/23           Page 14 of 58



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         (d)     the singular includes the plural and vice versa and the masculine gender shall include
                 the feminine and the neuter.

 1.3     Any words or expressions defined in the Act shall have the same meaning in the Memorandum
         and Articles unless othenvise required by the context or unless otherwise defined in this
         Memorandum or the Articles.

 1.4     Headings are inserted for convenience only and shall be disregarded in the construction of or
         the interpretation of the Memorandum and Articles.

2.       NAME

2.1      The name of the Company is Maclaurin Investments Ltd

2.2     Subject to Clause 2.3, the Company may amend its Memorandum and Articles to change its
        name by ordinary resolution or resolution of directors.

2.3     A change of the Company's name takes effect from the date oft!Je cenificate ofchange ofname
        issued by the Registrar following registration of a certified copy or extract of Uie resolution
        referred to in Clause 2.2 filed in accordance with the Act.

3.      TYPE OF COMPANY
                                                                                         EGl<'TRAR OF !t'TER, •. no, ,. L
3.1     The Company is:                                                                      BU51NES S COMPANIES
                                                                                           CE TIFIED TRUE COPY
        (a}     an international business company (as defined in !he Act);

        (b)     a company limited by shares (as defined in tl1e Act);                            2 6 SEP 2023
        (c)     a par value company (as defined in the Act); and                   • • • • • • • • • • o c ~ • •••••••••••--• • --•••••

                                                                                      REGISTRAR OF !NTERl'lATlONAL
        (d}     not authorised to issue no par value shares.                             BUSINESS cor.lPAN IES

3.2     Tlle liability ofa Shareholder arising from the Shareholder's holding ofany Share is limited to
        the amount (i( any) unpaid on it.

4.      REGISTERED AGENT IN SEYCHELLES

4.1     The Company's registered agent is STERLING TRUST & FIDUCIARY LIMITED ofF20, 1st
        Floor, Eden Plaza, Eden Island, Republic of Seychelles.

4.2     Subject to Clause 4.3, the Company may amend its memorandum 10 change its registered agent
        by ordinary resolution or resolution of directors.

4.3     A change of the Company's registered agent takes effect from the date of the registration by
        the Registrar of the certified copy or extract of the resolution referred to in Clause 4.2 filed in
        accordance with the Act.

S.      REGISTERED OFFICE

5.1     The registered office of the Company is located at F20, 1st Floor, Eden Plaza, Eden Island,
        Republic of Seychelles.

5.2     Subject to Clauses 5.3 and 5.4, the Company may amend its Memorandum to change the
        location ofits registered office by ordinary resolution or resolution of directors.
     Case 22-11068-JTD             Doc 3399-2            Filed 10/27/23         Page 15 of 58



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5.3      The Company's registered office shall be the same address as the principal place of business in
         Seychelles of its registered agent.

5.4      A change of the Company's registered office takes effect on the registration by the Registrar of
         the certified copy or extract of the resolution referred to in Clause 5.2 filed in accordance with
         the Act.

6.       CAPACITY AND POWERS

6.1      Subject to the Act and any other written law of Seychelles. the Company has, irrespective of
         corporate benefit:

         (a)     full capacity to carry on or undertake any business or activity. do any act or enter into
                 any transaction; and

         (b)     for the purposes of paragraph {a), full rights, powers and privileges.

6.2     There are no limitations on the business that the Company may carry on other than as referred
        to in Clause 7.

7.      LIMITATIONS ON THE COMPANY'S BUSINESS

7.1     The Company shall not:

        (a)     subject to Clause 7.2, canyon business in Seychelles:

        (b)     own an interest in immovable property situated in Seychelles, or a lease of immovable
                property situated in Seychelles otherwise than as referred to in section 5{3)(0 of the
                Act;

        (c)     carry on banking business (as defined in the Financial Institutions Act 2004) in or
                outside Seychelles:

        (d)     canyon insurance business {as defined in the Insurance Act 2008):

                (i)      in Seychelles; or

                (ii)    outside Seychelles unless it is licensed or othenvise legally able to do so under
                        the Jaw:. of each country outside Seychelles in which it carries on such
                        business;

        (e)     cany on business providing international co.iporate services, trustee services or
                foundation services (as defined in the International Corporate, Trustee and Foundation
                Service Providers Act 2016) ei.cept:

                (i)     to the extent pennitted under the International Corporate, Trustee and
                        Foundation Service Providers Act 2016; and

                (ii)    in the case of carrying on such business outside Seychelles, if the company is
                        licensed or othenvise legally able to do so under the laws of each country
                        outside Seychelles in which it canies on such business;

        (f)     carry on securities business (as defined in the Securities Act 2007):
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  Case 22-11068-JTD              Doc 3399-2           Filed 10/27/23           Page 16 of 58



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              (i)      in Seychelles; or

              (ii}    outside Seychelles unless it is licensed or othenvise legally able to do so under
                      the laws of each country outside Seychelles in which it canies on such
                      business;

       (g)    canyon business as a mutual fund (as defined in the Mutual Fund and Hedge Fund Act
              1008) unless it is licensed or otherwise legally able to do so under the Mutual Fund and
              Hedge Fund Act 2008 or under the laws of a recognized jurisdiction (as defined in the
              Mutual Fund and Hedge Fund Act 2008); or

       {h)    carry on gambling business (as defined in the Seychelles Gambling Act 2014),
              including interactive gambling business:

              (i)     in Seychelles; or

              (ii)    outside Seychelles unless it is licensed or otherwise legally able to do so under
                      the laws of each country outside Seychelles in which it carries on such
                      business.

7.1   For the purposes of Clause 7.l(a) and the Act. the Company shall not be treated as carrying on
      business in Seychelles by reason only that:

      {a)     it opens and maintains an account with a bank licensed under the Financial Institutions
              Act2004;

      {b)    It engages the services of or othenvise deals with counsel, attorneys-at-law.
             accountants, book-keepers, international cozporate service pnl\'iders, trustee service
             providers, foundation service providers, mutual fund administrators or managers,
             securities dealers, investment advisers or other similar persons carrying on business in
             Seychelles;

      (c)    it prepares or maintains its books and records within Seychelles;

      (d)    it holds meetings ofits directors or Shareholders, or passes written consent resolutions
             of its directors or Shareholders, in Seychelles;

      (c)    it concludes or signs contracts in Seychelles, and cxereises in Seychelles all other
             powers, so far as may be necessary for the carrying on of its business outside
             Seychelles;

      (f)    it holds shares, debt obligations or other securities in a company incorporated under the
             Act or the Companies Act 1972;

      (g)    it has any interest or entitlement as a beneficiary of a foundation registered under the
             Foundations Act 2009;

      (h)    it has any interest or entitlement as a beneficial}' of a trust registered under the Trusts
             Act 2016;

      (i)    it has any interest in a partnership registered under the Limited Partnerships Act 2003;

      (i)    it operates as a licensed mutual fund under the Mutual Fund and Hedge Fund Act 2008;

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      Case 22-11068-JTD              Doc 3399-2            Filed 10/27/23           Page 17 of 58



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         (k)      shares, debt obligations or other securities in the company are owned by a resident
                  person;

         {I)      it is listed on a licensed securities ei.cbange under the Securities Act 2007;

         (m)      it holds a licence under the International Trade Zone Act 199.5; or

         (n)      subjectto the provisions of the International Corporate, Trustee and Foundation Service
                  Providers Act 2016, any of its directors are resident persons.

7.3      The Company may own or manage a vessel registered in Seychelles under the Merchant
         Shipping Act 1992 and the vessel may visit or be situated in Seychelles waters, provided thnt
         the Company shall not canyon any business in Seychelles in contravention of Clause 7.l(a),
         including, without limitation, :fishing, charter or tourism business involving the vessel.

8.       AUTHORJSED CAPITAL

8.1      The Shares shall be issued in the currency of the US Dollar.

8.2      The authorised capital of the Company is USO 100.00 divided into 10,000 Ordinaiy shares of
         par value USD 0.01 each.

&.3      The Company may issue fractional Sban:s and a fractional Share shall have the corresponding
         fraction ofliabilities, limitations, preferences, privileges, qualifications, restrictions, rights and
         other attributes ofa whole Share of the same class of Shares.

9.       CLASSES AND SERIES OF SHARES

         Subject to Clause 14, the Sbares shall be divided into such classes and series as the directors
         may by resolution of directors determine from time to time and unless so divided shall comprise
         one class and series of Shares as referred to in Clause 8.2.

IO.     RIGHTS ATTACHING TO SHARES

1OJ     Each issued Share shall confer on its holder:

        (a)      the right to one vote at a meeting of the Shareholders or on any resolution of the
                 Shareholders;

        (b)      the right to an equal share in any Dividend paid by the Company; and

        (c)      the right to an equal share in the distribution of the surplus assets of the Company
                 (remaining after payment of its liabilities) on its liquidation.

10.2    Subject to Article 3, the directors may by resolution of directors redeem, purchase or othmvise
        acquire all or any of the Shares.

11.     REGISTERED SHARES

11.1    The Company shall only issue registered shares.

11.2    The Company shall not, and bas no power to: issue a bearer share; convert a registered Share
        into a bearer share; exchange a registered Share for:- a bearer share; or convert any other
        securities into, or exchange any other securities far, bearer shares.
                                                                          r--=::::::-:-::=-,.--~--
                                                                              REGISTRAR OF INTERN.'\TIONAL
                                                                                 BUSINESS COMPANIES
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   Case 22-11068-JTD              Doc 3399-2           Filed 10/27/23          Page 18 of 58



                                                  9


12.    VARIATJON OF RIGHTS

       If at any time the Shares are divided into different classes, the rights attached to any class may
       only be varied, whether or not the Company is in liquidation, with the consent in writing of or
       by a resolution passed at a meeting by the holders of not less than 50 percent of the issued
       Shares in that class.

13.    RIGHTS NOT VARIED BY THE ISSUE OF SHARES PARI PASSU

       TI1e rights conferred upon the holders of the Shares of any class shall not, unless othenvisc
       expressly provided by the terms of issue ofthe Shnres of that class, be deemed to be varied by
       the creation or issue of further Shares ranking pari passu therewith.

14.    AMENDMENT

14.1   Subject to Clauses 12 and 14.2 and to Article 7, the Company may amend all or any provisions
       of its Memorandum or Articles by ordinary resolution or resolution of directorS.

14.2   No amendment may be made by resolution of directors:

       (a)     to restrict the rights or powers of the Shareholders to amend the Memorandum or
               Articles;

       (b)     to change the percentage of SJtareholders required to pass a resc lution of Shareholders
               to amend the Memorandum or Articles;

       (c)     in circumslam::es where the Memorandum or Articles cannot be amended by the
               Shareholders; er

       (d)     to Clauses 10, 11, 12, 13 or this Clause 14.

J4.3   An amendment to the Memorandum or Articles only has effect from the date of the registration
       by the Registrar of the amendment filed in accordance with the Act.




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Case 22-11068-JTD          Doc 3399-2              Filed 10/27/23              Page 19 of 58



                                              10


                       Dated this 26'h day of September 2022


       Certified True Original of the Amended Memorandum of Assodation




                                         /;~-(j . . . . ........
                 ..........................
                               Signed
                STERLING TRUST & FIDUCIARY LIMITED
                                 By Authorised Signatory




                     ......                         :
                                                   .. ....................
                        \Vitness Name: Rebecca Hoareau
                       Occupation: Corporate Services Officer
                       Address: Saint Louis, Mahe, Seychelles




                                                         REG! T AR OF INTERNATI ON AL
                                                               BUSINES       c c,r.,PANIES
                                                           REPU 15UC OF SF. YCl-ii:LLES



                                                        ,t_ ___ ____ __,
                                                                    26 SEP 2022




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Case 22-11068-JTD          Doc 3399-2       Filed 10/27/23    Page 20 of 58




                               APOSTILLE
                 (Convention de Ia Haye du 5 Octobre 1961)

       1.   Country:        REPUBLIC OF SEYCHELLES
            This public document
       2.   has been signed by          RANDOLF SAMSON
       3.   acting in the capacity of      REGISTRAR
       4.   bears the seal/stamp of        REGISTRAR OF INTERNATIONAL
            BUSINESS COMPANIES, REPUBLIC OF SEYCHELLES
                               Certified
       5.   at    VICTORIA        6        02ND OCTOBER 2023
       7.   by    M-A. BARBE, DEPUTY REGISTRAR, SUPREME COURT
       8.   No. 9821 OF 2023
       9.        _.._111           10. Signature
Case 22-11068-JTD   Doc 3399-2   Filed 10/27/23   Page 21 of 58




            Tab 4
    Case 22-11068-JTD                 Doc 3399-2           Filed 10/27/23          Page 22 of 58




                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE

In re:                                                      Chapter 11


 FTX TRADING LTD., et al.,                                   Case No. 22-11068 (JTD)

 Debtors.
                                                            (Jointly Administered)




                                DECLARATION OF EDITH WONG

         I, EDITH WONG, pursuant to 28 U.S.C. § 1746, do hereby declare and state as follows:

         1.      I am an Attorney-at-Law, licensed to practice law in Seychelles. Currently, I serve
as partner of Chang-Leng and Wong Law Chambers, law finn located in Seychelles.
         2.      I was retained by The Daley Law Finn LLC, counsel for Patrick Gruhn ("Gruhn"),
Robin Matzke ("Matzke"), and Lorem lpsum UG, to provide an opinion regarding the law of
Seychelles, including the Seychelles International Business Corporations Act ("IBCA") 1,
applicable the bankruptcy case of Maclaurin Investments, Ltd. ("Maclaurin") (Case No. 22-11087-
JTD) filed November 11 , 2022. To that end, I submit this declaration ("Declaration").
Specifically, I was asked to address, under Seychelles law, the validity of the Omnibus Authority
(defined below) signed by Samuel Bankman-Fried ("Bankman-Fried"), a director of Maclaurin,
focusing on whether the director at the material time had the power or authority and/or was




         The Consolidated IBCA to 20th December 202 1 is accessible on the website of the Seychelles
         Financial Services Authority. Whilst it states in red "This version of the International Business
         Companies Act is not official and has been granted for convenience only. The Financial Services
         Authority does not accept any responsibility for its accuracy or entirety. For all purposes of
         interpreting and applying the law, the official version of the law published in the Official Gazette
         should be consulted," I confinn that this version can be used and relied upon for the purposes of
         detennining the law because the Official Gazette has only published a hard copy which has never
         been uploaded electronically onto the Official Gazette website.

         This is the link: https://fsaseychelles.sc/component/edocman/legislations/fiduciary/ibc.

         Relevant excerpts are attached as Exhibit A.
     Case 22-11068-JTD                Doc 3399-2         Filed 10/27/23         Page 23 of 58




effective in delegating certain authority and making certain appointments by virtue of that
authority.
A.         PERSONAL BACKGROUND
           3.      I obtained my law degree (L.L.B.) from the University of London in August 2013
and a Masters of Law (L.L.M.) from the University of Dundee, Scotland in October 2022.
           4.      I am a fully qualified attorney-at-law and advocate licensed to practice m
Seychelles including before all the courts and tribunals in Seychelles, including the apex court
being the Court of Appeal.
           5.      My general practice area is commercial and civil litigation, having practiced this
since my call in 201 7. I have provided advice on large commercial transactions in Seychelles, as
well as providing professional advice on Seychelles commercial Jaw for international clients.
           6.      It is my understanding that United States courts generally apply the law of the state
of incorporation to claims involving the internal affairs of corporations. Maclaurin is incorporated
in Seychelles; and, thus Seychelles law governs matters of its corporate governance and internal
affairs.
           7.      In preparing this declaration, I have consulted the IBCA, case law, and scholarly
works related to the relevant statutes. Additionally, I have also reviewed and considered relevant
pleadings and motions filed in this matter. My conclusions are set forth below.
B.         FACTUALL ALLEGATIONS
           8.      The following facts are relevant to my analysis of the applicable law:
                a. On November 11, 2022 ("Petition Date"), Maclaurin filed its petition for relief
under the Bankruptcy Code ("Petition") with the United States Bankruptcy Court for the District
of Delaware ("Court"). [D.l. l.]
                b. The Petition was signed by John J. Ray III ("Ray"), as the Chief Executive Officer
of Maclaurin and by Adam G. Landis of the law finn Landis Rath & Cobb LLP as the attorney for
Maclaurin. (Id.)
                c. Ray claims to have had authority to file the Petition by virtue of an Omnibus
Corporate Authority dated November 10, 2022 ("Omnibus Authority"), a copy of which was
filed with the Petition as required by Del. Bankr. L.R. 1002-l(b). [D.I. 1, page 12 of23].
                d. The Omnibus Authority states in relevant part:


                                                     2
    Case 22-11068-JTD             Doc 3399-2        Filed 10/27/23        Page 24 of 58




                   I, Samuel Benjamin Bankman-Fried, as controlling owner, director,
           officer, manager or other authorized person with respect to West Realm
           Shires Inc., Paper Bird Inc., Hilltop Technology Services LLC, Cedar Grove
           Technologies Services, Ltd., FTX Trading, Ltd., Alameda Research LLC And
           Clifton Bay Investments LLC (the "Top Companies"), and all of their directly
           and indirectly owned subsidiaries (together with the Top Companies, the "FTX
           Group"), hereby authorize, instruct and consent to the following corporate
           actions with respect to all members of the FTX Group:

                   (i) the appointment of John J. Ray III ("the CEO") as Chief Executive
           Officer with plenary authority to exercise all powers and authority capable of
           delegation to an officer under applicable law, including without limitation in
           connection with a voluntary filing for protection from creditors under Title 11
           of the United States Code and any restructuring and insolvency-related
           proceeding that may be appropriate or necessary, or may be commenced by
           third parties, with respect to all members of the FTX Group;

                                              *****
                   (iv) the appointment of Stephen Neal (if willing to serve) as Chairman
           of the Board, to the extent applicable law permits me to so designate him as
           such, and one to three other individuals chosen by the CEO and not affiliated
           with me or the CEO as new directors of Maclaurin Ltd ....

(emphasis added.)
           e. The Omnibus Authority was signed, electronically, only by Bankman-Fried.
           f.   Pursuant to the Omnibus Authority, Ray accepted the position as Chief Executive
Officer of the debtors in the early morning hours of November 11, 2022. Declaration of John J.
Ray III in Support of Chapter 11 Petitions and First Day Pleadings ("Ray Dec."). [D.I. 24, ,r l].
Ray understood that by the Omnibus Authority he "was delegated all corporate powers and
authority under applicable law, including the power to appoint independent directors and
commence these Chapter 11 Cases on an emergency basis." (Ray Dec., ,r 44.)
           g. The Omnibus Authority was drafted by attorney Andrew Dietderich of Sullivan &
Cromwell. Supplemental Declaration ofAndrew G. Dietderich in Support ofDebtors 'Application
for an Order Authorizing the Retention and Employment ofSullivan & Cromwell LLP as Counsel
to the Debtors and Debtors-In-Possession Nunc Pro Tune to The Petition Date, ,r 23 ("Dietderich
Supp. Dec.") [D.I. 51.]




                                               3
     Case 22-11068-JTD                Doc 3399-2         Filed 10/27/23         Page 25 of 58




              h. Maclaurin had two directors as of the Petition Date: (a) Caroline Ellison
("Ellison"); and (b) Bankman-Fried. (Maclaurin's Amended Statement of Financial Affairs filed
September 1, 2023 (Case No. 22-11087 (JTD)), [D.I. 10, Statement 28, page 58 of 59.]
              i.   Maclaurin's pre-petition board of directors did not pass a resolution authorizing the
filing of the Petition, either at a meeting or by consent in lieu of a meeting. As Dietderich states,
he recommended and prepared the Omnibus Authority because "there was not time to hold over
100 board meetings for companies whose records were both incomplete and unfamiliar to [Sullivan
& Cromwell]." (Dietderich Supp. Dec., ,i 23.)
              j.   Bankman-Fried signed the Omnibus Authority at approximately 4:30 a.m. on
Friday, November 11, 2022. Motion of Debtors for Entry of an Order (I) Modifying Certain
Creditor List Requirements; (II) Authorizing The Debtors To Serve Certain Parties By E-Mail;
And (111) Granting Related Relief[D.I. 9, iJ2].
              k. As described by Dietderich, its author, the Omnibus Authority "appointed Mr. Ray
CEO of all of the Debtors, transferred to him all of Mr. Bankman-Fried's corporate authority and
authorized Mr. Ray to decide if and when the Debtors should commence chapter 11 proceedings."
(Dietderich Supp. Dec., ,i 23 .)
              1. After his appointment as CEO, Ray - not Bankman-Fried or the Maclaurin board
of directors - made the decision to file the Petition. (Dietderich Supp. Dec., ,i 5.) Authorizing the
chapter 11 filings of the Debtors, including Maclaurin, was, according to Ray, his first "official
act" as CEO. (Ray Dec., ,i 2.)
C.      APPLICABLE SEYCHELLES LAW
        9.         Seychelles international business companies are controlled by the JBCA and their
respective memorandum of association and articles of association. 2
        10.        Maclaurin is an international business corporation fonned and registered in
Seychelles on December 23, 2019. It was originally named Alameda Ventures Ltd., but changed
its name to Maclaurin on September 26, 2022.




        Valabhji v Anti-Corruption Commission Seychelles (MC 82 of2022) [2023] SCSC 99 (10 February
        2023) paragraph 37, attached as Exhibit B.

                                                     4
    Case 22-11068-JTD              Doc 3399-2            Filed 10/27/23      Page 26 of 58




        11.    Maclaurin's Memorandum of Association and Articles of Association filed as of
September 22, 2022 ("Articles"), together with the IBCA, set forth the governing rules and
regulations of the company as of the Petition Date.
        12.    Under Seychelles law, directors are bound to adhere to the IBCA and the
company's articles of association, Valabhji v Anti-Corruption Commission Seychelles. It therefore
follows that actions taken by directors in contravention of the IBCA and valid articles are void. 3
        13.    The business and affairs of a company are managed by the directors of the
company. IBCA, § 128. Whenever a company is authorized to act the act "shall be carried out or
caused to be carried out by the directors of the company." IBCA, § 129. This is done by a resolution
of the directors that may be passed either (a) at a meeting of directors, or (b) if permitted by the
memorandum and articles, as a written resolution. IBCA, § 155(1). Section 155 of the IBCA is
however subject to the companies' memorandwn and articles of association.
        14.    Here, Maclaurin's Articles define a "director resolution" as:
               (a) a resolution passed at a meeting of directors of the Company by the affinnative
                   vote in excess of half of the directors present and entitled to vote on the
                   resolution; or

               (b) a resolution passed and consented to in writing by directors of the Company
                   representing in excess of half of the total votes of directors entitled to vote on
                   the resolution.

Articles, § 1.1 (Definitions and Interpretations.)
        15.    The IBCA further provides a company has the power to protect its assets for the
benefit of creditors, and in doing so, may cause the company to transfer its assets to a trustee.
IBCA, § 33(2)(g), (4). However, such power is expressly limited to exercise by the directors of the
company. IBCA § 33(4) ("For the purposes of subsection (2)(g), the directors may cause the
company to transfer its assets" to a trustee) (emphasis added). The IBCA further prohibits the
board of directors from delegating to any other person the power to "approve the company's
voluntary winding up." IBCA, § 132(2)(g). Seychelles does not have a bankruptcy code similar to




       See, e.g., Valabhji v Anti-Corruption Commission Seychelles, paragraph 40 (finding acts of a
       Seychelles domestic corporation taken in contravention of its memorandum of association and the
       Jaw to be invalid under the domestic companies act), attached as Exhibit B.

                                                     5
     Case 22-11068-JTD              Doc 3399-2          Filed 10/27/23          Page 27 of 58




the U.S. A transfer for the benefit of creditors and a winding up are the Seychelles corollaries to a
bankruptcy law. Both acts require the approval of the company's directors.
        16.     Since Maclaurin is a Seychelles international business company, the Omnibus
Authority is subject to and only valid as to Maclaurin as allowed by Seychelles law.
        17.     The Omnibus Authority purported to do the following: (i) appoint Ray CEO of all
of the Debtors; (ii) authorize Ray to decide if and when the Debtors should commence chapter 11
proceedings; (iii) authorize Ray to appoint new directors for any of the Debtors; and (iv) transfer
to Ray all ofBankman-Fried's corporate authority. (Dietderich Supp. Dec., ,i 23.)
        18.     Each of these actions were improper under Seychelles law as well as Maclaurin's
Articles and; thus, are void. 4
        19.     Maclaurin's affairs are to be managed by its directors and any company acts to be
taken shall be done by resolution - written or passed at a meeting - consented to by a majority of
its directors. Act § 128; Articles § 1.1 (directors' resolution must be "passed and consented to in
writing by directors of the Company representing in excess of half of the total votes of directors
entitled to vote on the resolution .... ") (emphasis added.)
        20.     At the time of the Petition, Maclaurin had two directors - Banlanan-Fried and
Ellison. Since any act of the board or exercise of director power required a vote in excess of half
of the directors (i.e. a majority), any act thus required unanimous consent of both Bankman-Fried
and Ellison, not Banlanan-Fried only.
        21.     Dietderich admits that no directors' meeting was held around the time the Omnibus
Authority was drafted or any time prior to the filing of the Petition. The Omnibus Authority, which
is not a resolution and is not signed by both directors, is an improper attempt to exercise and/or
delegate the directors' rights and obligations in managing the affairs of the company.
        22.     As only one of two directors of Maclaurin, Bankman-Fried did not have the
authority to independently "authorize, instruct and consent to" corporate actions for Maclaurin.
Such delegation of authority would require unanimous board action.
        23.     Moreover, under Seychelles law, only a board of directors has the power to
authorize a voluntary winding up of the company. Act, § 132(2)(g). A single director cannot



4
        See, e.g., Valabhji v Anti-Corruption Commission Seychelles, paragraph 40, attached as Exhibit B.

                                                   6
     Case 22-11068-JTD              Doc 3399-2        Filed 10/27/23        Page 28 of 58




authorize such a filing, nor can an officer. This power is solely for the directors and cannot be
delegated. Id.
        24.      Even if a directors' wind-up powers could be delegated, Bankman-Fried can only
delegate or authorize Ray to take action that he has the power or authority to take himself. Because
Bankman-Fried did not have the power to singularly resolve to file the Petition, neither did Ray.
        25.      Further, the Omnibus Authority does not specifically name Maclaurin as a grantee
of the power given to Ray. Whilst the chart showing the organization of the structure of the FTX
debtors (Ray Dec. last page.) shows that Maclaurin is a wholly owned subsidiary of Alamed~
Research Ltd, which in tum is wholly owned by Alameda Research LLC, the principles of separate
corporate personality of each company requires that Bankrnan-Fried ought to have specifically
identified Maclaurin in the Omnibus Authority. It is not possible under Seychelles law to grant a
sweeping power in the manner in which the Omnibus Authority does by virtue of the Act. Section
132A(l)(a) of the Act allows directors to "appoint any person, including a person who is a director,
to be an agent of the company" (emphasis added) which requires that this delegation must be
specific to that company.
        26.      In sum, under Seychelles law, the Omnibus Authority could not and did not grant
Ray the authority and power to file the Petition for Maclaurin. Under Seychelles law as well as
Maclaurin's Articles, Bankrnan-Fried lacked authority to unilaterally pass a resolution appointing
Ray as CEO and to delegate the directors' voluntary wind-up powers.
        27.      Based on the foregoing, in my opinion, under Seychelles law, Ray lacked the proper
authority to file the Petition.
        I declare under penalty of perjury under the laws of the United States of America that the
foregoing is true and correct.
        Executed on October 26, 2023.


                                                      Edith ong
                                                      Chang-Leng and
                                                      Fourth Floor,          , Ile Du Port,
                                                      Mahe, Seychel s
                                                      (+248) 4-324-12
                                                      edith@clw.sc




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Case 22-11068-JTD   Doc 3399-2   Filed 10/27/23   Page 29 of 58




            Exhibit A
          Case 22-11068-JTD       Doc 3399-2      Filed 10/27/23     Page 30 of 58




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granted for convenience only. The Financial Services Authority does not accept any
responsibility for its accuracy or entirety. For all purposes of interpreting and applying the
law, the official version of the law published in the Official Gazette should be consulted.


                     CONSOLIDATED TO 20TH DECEMBER, 2021


             THE INTERNATIONAL BUSINESS COMPANIES ACT, 2016

                                      (Act 15 of 2016)

                            ARRANGEMENT OF SECTIONS

Section
                             PART I – PRELIMINARY

1.     Short title and commencement date
2.     Interpretation
3.     Associated companies
4.     Application of this Act

                    PART II - COMPANY INCORPORATION

                 Sub-Part I – Types of international business companies

5.     Definition of international business companies
6.     Companies which may be incorporated or continued
7.     Protected cell companies
8.     Limited life companies

                        Sub-Part II – Incorporation of companies

9.     Application to incorporate a company
10.    Incorporation of a company
11.    Effect of incorporation
12.    Annual fee
13.    Memorandum of association
14.    Content of the memorandum of association
15.    Memorandum of company with shares
16.    Memorandum of company with guarantee members
17.    Memorandum may specify objects
18.    Memorandum or articles of limited life company
19.    Language of memorandum
20.    Articles of association
21.    Language of articles

          Sub-Part III – Amendment and restatement of memorandum or articles
       Case 22-11068-JTD         Doc 3399-2     Filed 10/27/23   Page 31 of 58




22.   Amendment of memorandum or articles
23.   Registration of amendments to memorandum or articles
24.   Restated memorandum or articles

                           PART III - COMPANY NAMES

25.   Requirements as to names
26.   Restrictions on company names
27.   Rights and interests in names
28.   Language of company names
29.   Reservation of names
30.   Change of name
31.   Power to require change of name
32.   Reuse of company name

                 PART IV - COMPANY CAPACITY AND POWERS

33    Capacity and powers
34.   Validity of acts of company
35.   Personal liability
36.   Dealings between a company and other persons
37    Contracts generally
38.   Pre-incorporation contracts
39.   Powers of attorney
40.   Company seal
41.   Authentication or attestation

                               PART V – SHARES

                               Sub-Part I – General

42.   Nature of shares
43.   Share rights
44.   Distinguishing numbers
45.   Series of shares
46.   Par value and no par value shares
47.   Fractional shares
48.   Bearer shares prohibited

                              Sub-Part II - Issue of shares

49.   Issue of shares
50.   Consideration for shares
51.   Provision for different amounts to be paid on shares
52.   Shares issued for consideration other than money
53.   Time of issue
54.   Consent to issue certain shares
55.   Power to issue shares at a discount
56.   Power of company to pay commissions
57.   Pre-emptive rights
        Case 22-11068-JTD         Doc 3399-2      Filed 10/27/23      Page 32 of 58




58.   Share certificates

                            Sub-Part III – Transfer of shares

59.   Transferability of shares
60.   Transfer of deceased member’s share by personal representative
61.   Transfer by operation of law
62.   Transfer of shares
63.   Refusal to register transfer
64.   Loss of instrument of transfer
65.   Time of transfer of share
66.   Transfer of securities through clearing agencies and securities facilities

                               Sub-Part IV – Distributions

67.   Meaning of “solvency test”
68.   Meaning of “distribution”
69.   Meaning of “dividend”
70.   Distributions
71.   Cellular and non-cellular distributions by protected cell company
72.   Recovery of distributions made when company did not satisfy solvency test

                 Sub-Part V - Redemption and purchase of own shares

73.   Company may redeem or purchase its own shares
74.   Process for redemption or purchase of own shares
75.   Offer to one or more shareholders under section 74(1)(b)
76.   Shares redeemed at the option of a shareholder
77.   Redemptions or purchases deemed not to be a distribution
78.   Treasury shares
79.   Transfer of treasury shares

                           Sub-Part VI - Alteration of capital

80.   Alteration of capital of par value companies
81.   Alteration of capital of no par value companies
82.   Forfeiture of shares
83.   Reduction of share capital
84.   Application to Court for order of confirmation
85.   Court order confirming reduction
86.   Registration of order and minute of reduction
87.   Liability of members on reduced shares
88.   Penalty for concealing name of creditor, etc

                           Sub-Part VII – Security over shares

89.   Interpretation
90.   Right to pledge shares
91.   Form of pledge of shares
92.   Pledge of shares governed by Seychelles law
        Case 22-11068-JTD        Doc 3399-2      Filed 10/27/23    Page 33 of 58




93.    Exercising power of sale under a Seychelles law pledge of shares
94.    Pledge of shares governed by foreign law
95.    Application of enforcement monies
96.    Annotating and filing of register of members

 Sub-Part VIII – Conversion of par value shares into no par value shares and vice versa

97.    Conversion of shares in par value companies
98.    Conversion of shares in no par value companies

                            PART VI - MEMBERSHIP

                                  Sub-Part I – Members

99.    Minimum number of members
100.   Requirement for company limited by shares and guarantee
101.   Minors and incapacitated adults
102.   Liability of members
103.   Service on members

                           Sub-Part II – Register of members

104.   Register of members
105.   Nature of register
106.   Register of members of listed companies
107.   Inspection of register of members
108.   Rectification of register of members

                   Sub-Part III – Members Meetings and Resolutions

109.   Resolutions
110.   Ordinary resolutions
111.   Ordinary resolutions may be required to have a higher proportion of votes
112.   Special resolutions
113.   Special resolutions may be required to have a higher proportion of votes
114.   Convening of members meetings
115.   Notice of meetings of members
116.   Quorum
117.   Attending meeting by telephone or other electronic means
118.   Representation of body corporate at meetings
119.   Jointly owned shares
120.   Proxies
121.   Demand for poll
122.   Written consent resolutions of members
123.   Court may order meeting
124.   Resolution passed at adjourned meeting
125.   Keeping of minutes and resolutions of members
126.   Location of minutes and resolutions of members
127.   Inspection of minutes and resolutions of members
         Case 22-11068-JTD         Doc 3399-2       Filed 10/27/23   Page 34 of 58




                              PART VII - DIRECTORS

                          Sub-Part I – Management of companies

128. Management of company
129. Carrying out of company obligations by directors
130. Minimum number of directors
131. Deemed directors
132. Committee of directors
132A. Agents

           Sub-Part II – Appointment, Removal and Resignation of Directors

133.   Eligibility of directors
134.   Appointment of directors
135.   Nomination of Reserve directors
136.   Cessation of nomination of Reserve directors
137.   Removal of directors
138.   Resignation of directors
139.   Appointment of alternate directors
140.   Rights and duties of alternate directors
141.   Emoluments of directors
142.   Continuing liability
143.   Validity of acts of director

                     Sub-Part III – Duties of Directors and Conflicts

144.   Duties of directors
145.   Directors of subsidiaries, etc
146.   Avoidance of breach
147.   Reliance on records and reports
148.   Disclosure of interest
149.   Avoidance by company of transactions in which director is interested

                            Sub-Part IV – Register of Directors

150.   Register of directors
151.   Inspection of register of directors
152.   Filing of register of directors with Registrar

                     Sub-Part V –Directors Meetings and Resolutions

153.   Meetings of director
154.   Notice of meeting of directors
155.   Resolutions of directors
156.   Keeping of minutes and resolutions of directors
157.   Location of minutes and resolutions of directors
158.   Inspection of minutes and resolutions of directors
         Case 22-11068-JTD        Doc 3399-2       Filed 10/27/23     Page 35 of 58




       (b)    does not affect any rights or obligations of the company or render defective any
              legal proceedings by or against it, and any legal proceedings that might have
              been continued or commenced against it by its former name may be continued
              or commenced against it by its new name.

Power to require change of name

31.(1) If a company has been incorporated, continued or converted into a company under this
Act with, or has changed its name to, a name which, in the opinion of the Registrar, does not
comply with sections 25 or 26 the Registrar may —

       (a)    within 2 years of that time direct the company by written notice to make an
              application to change its name or its foreign character name on or before a date
              specified in the notice, which shall be not less than 30 days after the date of the
              notice; or

       (b)    apply to the Court for, and the Court may grant, an order changing the
              company’s name or its foreign character name, or requiring the company to
              change such name, to a name acceptable to the Registrar on such terms as the
              Court thinks fit.

(2)     If a company that has received a notice under subsection (1)(a) fails to file an
application to change its name to a name acceptable to the Registrar on or before the date
specified in the notice, the Registrar may revoke the name of the company and assign it a new
name acceptable to the Registrar.

(3)     Where the Registrar assigns a new name to a company under subsection (2) or pursuant
to an order made by the Court under subsection (1)(b), it shall —

       (a)    enter the new name in the Register in the place of the former name;

       (b)    issue a certificate of change of name to the company; and

       (c)    publish the change of name in the Gazette.

(4) A company that fails to comply with a direction given under this section within the period
of time specified by the Registrar under subsection (1)(a) commits an offence and is liable on
conviction to a fine not exceeding US$10,000.

Reuse of company names

32. The Registrar may permit the reuse of company names as provided for in the Fifth
Schedule.

                  PART IV – COMPANY CAPACITY AND POWERS

Capacity and powers

33.(1) Subject to this Act, any other written law and its memorandum and articles, a company
has, irrespective of corporate benefit —
         Case 22-11068-JTD         Doc 3399-2       Filed 10/27/23    Page 36 of 58




       (a)     full capacity to carry on or undertake any business or activity, do any act or
               enter into any transaction; and

       (b)     for the purposes of paragraph (a), full rights, powers and privileges.

(2)     Without limiting the generality of subsection (1), subject to its memorandum and
articles, subsection (3) and section 48 (Bearer shares prohibited), the powers of a company
include the power to do any of the following —

       (a)     issue and cancel shares and hold treasury shares;

       (b)     grant options over unissued shares in the company and treasury shares;

       (c)     issue securities that are convertible into shares;

       (d)     give financial assistance to any person in connection with the acquisition of its
               own shares;

       (e)     issue debt obligations of every kind and grant options, warrants and rights to
               acquire debt obligations;

       (f)     guarantee a liability or obligation of any person and secure any obligations by
               mortgage, pledge or other charge, of any of its assets for that purpose; and

       (g)     protect the assets of the company for the benefit of the company, its creditors
               and its members and, at the discretion of the directors, for any person having a
               direct or indirect interest in the company.

(3)    Paragraphs (a), (b), (c) and (d) of subsection (2) shall not apply to company limited by
guarantee.

(4)     For the purposes of subsection (2)(g), the directors may cause the company to transfer
any of its assets in trust to one or more trustees, each of which may be an individual, company,
association, partnership, foundation or similar entity and, with respect to the transfer, the
directors may provide that the company, its creditors, its members or any person having a direct
or indirect interest in the company, or any of them, may be the beneficiaries of the trust.

(5)     The rights or interests of any existing or subsequent creditor of the company in any
assets of the company are not affected by any transfer under subsection (4), and those rights or
interests may be pleaded against any transferee in any such transfer.

Validity of acts of company

34.(1) Subject to subsection (2), no act of a company and no transfer of an asset by or to a
company is invalid by reason only of the fact that the company did not have the capacity, right
or power to perform the act or to transfer or receive the asset.

(2)     The lack or alleged lack of capacity, right or power of a company to perform an act or
to transfer or receive an asset may be asserted —
          Case 22-11068-JTD        Doc 3399-2      Filed 10/27/23     Page 37 of 58




        (a)    the company commits an offence and is liable on conviction to a fine not
               exceeding US$5,000; and

        (b)    the aggrieved person may within 90 days from the date of refusal apply to the
               Court for an order that he should be permitted to inspect the relevant minutes
               and resolutions or that a copy of such minutes and resolutions be provided to
               him.

(6)     On an application under subsection (5), the Court may make such order as it considers
just.

                                 PART VII – DIRECTORS

                         Sub-Part I – Management of Companies

Management of company

128. Subject to any modifications or limitations in the company’s memorandum or articles —

        (a)    the business and affairs of a company shall be managed by, or under the
               direction or supervision of, the directors of the company; and

        (b)    the directors of a company have all the powers necessary for managing, and for
               directing and supervising, the business and affairs of the company.

Carrying out of company obligations by directors

129. Wherever in this Act an obligation or duty is placed on a company or a company is
authorised to do any act then unless it is otherwise provided such obligation, duty or act shall
be carried out or caused to be carried out by the directors of the company.

Minimum number of directors

130.(1) A company shall at all times have at least one director appointed in accordance with
this Act, except where otherwise provided by another written law of Seychelles.

(2)   Subsection (1) does not apply during the period between the incorporation of the
company and the appointment of the first directors.

(3)    Subject to subsection (1), the number of directors of a company may be fixed by, or in
the manner provided in, the company’s articles.

Deemed directors

131. If at any time a company does not have a director, any person who manages, or who
directs or supervises the management of the business and affairs of the company is deemed to
be a director of the company for the purposes of this Act.

Committee of directors
           Case 22-11068-JTD      Doc 3399-2        Filed 10/27/23   Page 38 of 58




132.(1) Subject to the memorandum and articles of the company and to subsection (2), the
directors may —

         (a)   designate one or more committees of directors, each consisting of one or more
               directors; and

         (b)   delegate to the committee one or more of their powers, including the power to
               affix the common seal of the company.

(2)     Notwithstanding anything in the memorandum or articles of the company, the directors
shall not delegate to a committee of directors any power to —

         (a)   amend the memorandum or articles, including to change the registered agent or
               registered office of the company;

         (b)   designate committees of directors;

         (c)   delegate powers to a committee of directors;

         (d)   appoint or remove directors;

         (e)   appoint or remove an agent;

         (f)   approve a plan or merger, consolidation or arrangement;

         (g)   approve voluntary winding up of the company under Sub-Part II or Sub-Part III
               of Part XVII; or

         (h)   approve distribution by the company, including to make a determination under
               section 70(1) or 71(1) that the company will, immediately after a proposed
               distribution, satisfy the solvency test.

(3)    Subsection (2)(b) and (c) shall not prevent a committee of directors, where authorised
by the directors, from appointing a sub-committee and delegating powers exercisable by the
committee to the sub-committee.

(4)     The directors who delegate any power under subsection (1) shall be responsible for the
exercise of the power by the committee as if the power had been exercised by the directors,
unless the directors prove that the exercise of power by the committee was outside the scope
of the delegated authority.

Agents

132A. (1) The directors may appoint any person, including a person who is a director, to be an
agent of the company.

(2)    Subject to the memorandum or articles of the company, an agent of the company has
such powers and authority of the directors, including the power and authority to affix the
common seal of the company, as are set forth in the articles or in the resolution of directors
appointing the agent, except that no agent has any power or authority to —
         Case 22-11068-JTD            Doc 3399-2        Filed 10/27/23   Page 39 of 58




       (a)      amend the memorandum or articles, including to change the company’s
                registered agent or registered office;

       (b)      designate committees of directors;

       (c)      delegate powers to a committee of directors;

       (d)      appoint or remove directors;

       (e)      appoint or remove an agent;

       (f)      approve a plan or merger, consolidation or arrangement;

       (g)      approve voluntary winding up of the company under Sub-Part II or Sub-Part III
                of Part XVII;

       (h)      approve distributions by the company, including to make a determination under
                section 70(1) or 71(1) that the company will, immediately after a proposed
                distribution, satisfy the solvency test;

       (i)      fix emoluments of directors; or

       (j)      authorise the company to continue as a company incorporated under the laws of
                a jurisdiction outside Seychelles.

(3)    Where the directors appoint any person to be an agent of the company, they may
authorise the agent to appoint one or more substitute or delegate to exercise some or all of the
powers conferred on the agent by the company.

(4)     The directors may remove an agent appointed under subsection (1) and may revoke or
vary a power conferred on him or her under subsection (2).

             Sub-Part II – Appointment, Removal and Resignation of Directors

Eligibility of directors

133.(1) Subject to subsection (2), the company’s memorandum and articles and to the
provisions of the International Corporate Service Providers Act (Cap 275), a director of a
company shall be an individual or a body corporate.

(2) The following persons shall not be a director of a company —

       (a)      an individual who —

                (i)     is a minor;

                (ii)    is an incapacitated adult; or

                (iii)   is an undischarged bankrupt;
          Case 22-11068-JTD          Doc 3399-2       Filed 10/27/23      Page 40 of 58




at the commencement of the meeting one half of the total number of directors are present in
person or by alternate.

Notice of meeting of directors

154.(1) Subject to a requirement in a company’s memorandum or articles for a longer notice
period, a director shall be given not less than 2 days’ notice of a meeting of directors.

(2)     Notwithstanding subsection (1), subject to the memorandum or articles, a meeting of
directors held in contravention of that subsection is valid if all of the directors, or such majority
thereof as may be specified in the memorandum or articles entitled to vote at the meeting, have
waived the notice of the meeting; and, for this purpose, the presence of a director at the meeting
shall be deemed to constitute waiver on his part.

(3)     The inadvertent failure to give notice of a meeting to a director, or the fact that a director
has not received the notice, does not invalidate the meeting.

Resolutions of directors

155.(1) A resolution of directors may be passed —

        (a)     at a meeting of directors; or

        (b)     subject to the memorandum and articles, as a written resolution.

(2)     Subject to the memorandum and articles, a resolution of directors is passed at a meeting
of directors by a majority of the votes cast by directors who are present at the meeting and
entitled to vote on the resolution.

(3)     A written resolution is a resolution consented to in writing or by telex, telegram, cable
or other written electronic communication, without the need for any notice —

        (a)     by such majority of the votes of the directors entitled to vote on the resolution
                as may be specified in the memorandum or articles; or

        (b)     in the absence of any provision in the memorandum or articles, by all of the
                directors entitled to vote on the resolution.

(4)     A written resolution —

        (a)     may consist of several documents, including written electronic
                communications, in like form each signed or assented to by one or more
                directors and

        (b)     shall be deemed to be passed when the written consent instrument, or the last of
                several instruments, is last signed or otherwise assented to or on such later date
                as is specified in the resolution.

Keeping of minutes and resolutions of directors
Case 22-11068-JTD   Doc 3399-2   Filed 10/27/23   Page 41 of 58




            Exhibit B
          Case 22-11068-JTD        Doc 3399-2      Filed 10/27/23     Page 42 of 58




                          SUPREME COURT OF SEYCHELLES


                                                         Reportable
                                                         [2023] SCSC
                                                         MC82/2022


In the matter between:

MUKESH VALABHJI                                          Applicant
(rep. by France Bonte)

and


ANTI-CORRUPTION COMMISSION                               Respondent
(rep. by Edmund Vickers)

Neutral Citation: Mukesh Valabji v Anti-Corruption Commission Seychelles (MC 82/2022)
                  [2023] SCSC     (10 February 2023)
Before:           Govinden, CJ
Summary:          Advancement of Loan to Company Director contrary to section 172 of
                  Companies Ordinance, 1972; Confirmation of section 60(1) notice.
Heard:            10 February 2023
Delivered:        10 February 2023
                                           ORDER

       The court confirms the directives of the Respondent in terms of section 60(1) of the Anti-
       Corruption Act, given in the notices dated 13th December 2021 and further extended on
       the 13th September 2022 in respect of the bank accounts of Zil Pasyon Resort Limited No.
       2100 2060 800 033 and Intelvision Limited No. 0100 2025 754 010, in so far as the
       purported resolutions by the directors in the aforesaid companies are illegal by virtue of
       being contrary to section 172 of the Companies Ordinance.




                                           RULING




                                               1
         Case 22-11068-JTD         Doc 3399-2      Filed 10/27/23    Page 43 of 58




GOVINDEN CJ


FACTS/ BACKGROUND




[1]   This is a Ruling on an application was filed on the 2 nd December 2022 under MC 82 of
      2022 by Mr. Mukesh Valabhji (hereafter “the Applicant”), one of the beneficial owners
      of Zil Pasyon Resort Limited (hereafter “Zil Pasyon”) and the sole beneficial owner of
      Intelvision Limited (hereafter “Intelvision”), who holds 1% shareholding in both
      companies (hereafter to be referred to together as “the Companies”). The Respondent is
      the Anti-Corruption Commission Seychelles (hereafter “the Respondent” or “the ACCS”)
      established under the Anti-Corruption Act, 2016 (hereafter “the ACA”).

[2]   The Applicant and Mr. Benoiton were arrested by officers of the Respondent on the 18 th
      November 2021 on allegations of violating inter alia, the Anti-Money Laundering and
      Countering the Financing of Terrorism Act, 2020 (hereafter “the AML/CFT Act”), the
      Penal Code and the ACA, and subsequently charged.

[3]   On the 13th December 2021, the ACCS issued a number of section 60(1) orders against
      the account of local entities and companies in which the Applicant and Mr. Benoiton
      have financial interest, and private individual accounts held in their names. These
      included the bank accounts of Zyl Pasyon and Intelvision, both of which the Applicant is
      a director, shareholder and ultimate beneficial owner (UBO). These restrictions were
      extended on 13th September 2022 for a further six months.

[4]   The challenge arose when new invoices were issued and the Applicant sought that same
      be paid from funds derived from the Companies. The Applicant requires and requests that
      the Court allow for access to the bank accounts of Zil Pasyon and Intelvision to pay the
      legal and expert fees, including court fees which are paid through counsel.




                                               2
            Case 22-11068-JTD        Doc 3399-2       Filed 10/27/23     Page 44 of 58




[5]    The Respondent queried Applicant’s production of resolutions from Intelvision and Zyl
       Pasyon when the invoice identified Felicite Island Development Limited as the company
       from which the legal fees are sought to be drawn.

[6]    The Respondent requested that the Court determine whether Applicant’s decision to
       defray his legal costs using funds from these Companies is in compliance with the
       Companies Act, having regard that the latter have a separate and distinct legal personality
       from the directors, shareholders or owners.

[7]    In its judgment rendered on 10 November 2022, the Court confirmed that a section 60(1)
       notice can indeed “be varied by the Supreme Court in respect of the disbursement of any
       expense including that of legal fees of a person whose account is subject to the
       restriction” in terms of subsection (6).

[8]    The Court referred to Article 19(2)(d) of the Constitution, affirming the accused’s right to
       procure legal representation of their own choice and at own expense. The Court found
       that in the event that the ACCS refuses to reverse or vary the directive, that it is still open
       to the Applicant to approach the Supreme Court in terms of subsection (6).

[9]    The Court further found that Applicant could legally be entitled to pay a legal bill or
       invoice “from monies in an account of a legal entity or company in which they hold
       interest and subject to the limits of those interests and the applicability of the provisions
       of statutes including the Companies Act.” The Court said the above was subject to certain
       conditions.

[10]   Prompted by the 10 November 2022 judgment, Applicant filed his application and prays
       for the following orders:

       a.     An order pursuant to section 60(6) of the Anti-Corruption Act 2016,
              reversing/varying the directives of the Respondent, given in the notices dated 13 th
              December 2021 which were further extended by the Respondent on the 13 th
              September 2022 in respect of the following bank accounts to allow the Applicant
              to pay legal fees of the Applicant as per the resolution of Zil Pasyon Resort
              Limited and Intelvision Limited;

             i.       Zil Pasyon Resort Limited No. 2100 2060 800 033

                                                  3
            Case 22-11068-JTD          Doc 3399-2     Filed 10/27/23    Page 45 of 58




             ii.        Intelvision Limited No. 0100 2025 754 010;

       b.        Such other order as the Court shall deem fit.

LEGAL ARGUMENTS

Varying a section 60(1) restriction order

[11]   In terms of section 60(8) of the ACA, the Supreme Court may, on hearing of an
       application under subsection (5) issue one of the following decisions, either:

       (a) confirm the directive; or

       (b) reverse the directive and consent to the disposal of, or otherwise dealing with, any
            property specified in the notice, subject to such terms and conditions as it thinks fit;
            or

       (c) vary the directive as it thinks fit.

[12]   The ACA does not specify what determines whether or not the Court confirms or reverses
       the directive. The facts of this particular case and other cases in other jurisdictions with
       similar provisions should provide guidance.

Company as a separate legal entity

[13]   It is indisputable in law, that a company is a legal entity distinct from its members. It was
       so laid down by the House of Lords in the leading case of Salomon v A Salomon & Co
       Ltd [1896] UKHL 1, [1897] AC 22. In the case of Umbricht v Golden Flow Pty Ltd (CS
       57 of 2020) [2022] SCSC 41, the court re-affirmed that a company is vested with a
       separate legal personality and is therefore separate and distinct from its members and
       directors. This is true unless the director breaches his duties, and in those circumstances,
       there might arise the possibility of personal liability. The assumption is that since
       directors are not liable for the debts of the company, it follows therefore that the company
       should not be liable for the personal debts of its directors.




                                                  4
          Case 22-11068-JTD         Doc 3399-2       Filed 10/27/23     Page 46 of 58




[14]   Applicant has produced documents termed as “resolutions” from Intelvision and Zyl
       Pasyon, where the Applicant serves as director, shareholder and ultimate beneficial
       owner, and argues that these confer the authority for the Companies to advance certain
       sums to pay for his legal fees. While the resolutions on the face of it appear to have been
       properly executed in so far as they are “in writing, signed by all the directors for the time
       being entitled to receive notice of a meeting of the directors…” as per the provisions of
       section 73 of the Companies Act, the question is whether these resolutions qualify the
       Applicant to access the Companies’ funds. The Applicant avers that he is entitled “not as
       director, but as a shareholder and ultimate Beneficiary Owner (UBO)” to have funds
       “advanced” not “loaned” to him. Authorisation thereto will be determinable as each of
       the hats worn by the Applicant are examined.

Directors Duties and Responsibilities

[15]   The Applicant is, among others things, a director in the Companies in question. It is a
       long established principle of the law that “directors represent the mind and will of the
       company and control what they do. The state of the mind of these managers is the state of
       the mind of the company and is treated by the law as such.” [Per Lord Denning, in the
       UK case of HL Bolton Co Vs TJ Graham and Sons [1956] 3 All ER 624, page 630.

[16]   A company director stands in a special relationship to the company of which they are an
       officer. This special position is known as a ‘fiduciary position’ and the director is known
       as a ‘fiduciary’ (Section 52(3) of the Companies Act). A fiduciary is required to act in a
       manner which is legally becoming of their office and which places the interests of the
       company ahead of their own. Section 171(1)(c) makes it clear that directors are to
       exercise their powers “in good faith in what they reasonably consider to be the interests
       of the shareholders of the company as a whole.” [Emphasis added]

[17]   In this case the Applicant argues that he has 1% shareholding in both companies. The
       question, therefore is, given the pre-eminence of shareholder interests in section 171(1)
       (c), whether or not the other shareholders representing 99% of the company shareholding
       in the companies will not be prejudiced were the funds from these companies repatriated



                                                 5
               Case 22-11068-JTD            Doc 3399-2        Filed 10/27/23        Page 47 of 58




           to pay Applicant’s fees. Of significance, on page 5 of his submissions dated 17 January
           2023, Mr. Bonte states:

                    “It is submitted that both ZPRL and Intelvision have only 2 shareholders each,
                    each, a corporate one represented by Mr. Kishore Buxani in respect of ZPRL and
                    Mr. Reza Jaro in respect of Intelvision and the other shareholder in the other
                    company being the shareholder himself”

[18]       Mr. Bonte goes on to explain that both Mr. Buxani and Mr. Jaro are also directors of the
           two companies, and both have acceded to, and signed the requisite resolutions in favour
           of the Applicant. The fact that Mr. Buxani and Mr. Jaro each hold 99% of the shares in
           each company, and the attitude of the co-shareholders in both companies mean that there
           would not be an inequitable situation for the shareholders of both companies. In the
           circumstances, section 171(1)(c) would be fulfilled.

[19]       Worthy of note, English law has long recognised that a director’s duties are usually owed
           in the first instance to the company, and not to the members/shareholders, creditors or
           employees of the company. In such situations, directors have a duty to ensure the well-
           being, profitability and continued existence of the company. What constitutes directors’
           duties when a company is foremost, was well summed up on a guidance document on
           directors’ duties1 based on UK law as follows:

                    “For all directors, your job is not to balance the interests of the company and
                    those of other stakeholders. Instead, after weighing up all the relevant factors, ask
                    yourself which course of action you consider best leads to the success of the
                    company, having regard to the long term. This can sometimes mean that certain
                    stakeholders are adversely affected, but this does not call into question decisions
                    made.”

[20]       However, in the UK case of BTI 2014 LLC v. Sequana SA and others [2022] UKSC
           25, the Supreme Court held that directors (particularly in cases of insolvency or when
           there is a real risk of insolvency) should treat creditors' interests as paramount (that is, in

1
    Guidance on Directors’ Duties: Section 172 and Stakeholder Considerations, GC100, October 2018, 5.

                                                          6
             Case 22-11068-JTD              Doc 3399-2         Filed 10/27/23        Page 48 of 58




         priority to shareholders' interests). Despite these different positions, it is clear that prior to
         making decisions, directors need to consider all the company’s stakeholders and the
         impact of their decision on them.

Compliance with Companies Act and other statutes

[21]     The Applicant argues that the Court is only concerned with compliance with the
         Companies Act. However, the Court has a duty to ensure compliance with all laws, not
         just the Companies Act. In the aforementioned 10 November 2022 judgment the Court
         said in part, that Applicant could be entitled to pay a legal bill or invoice “from monies in
         an account of a legal entity or company in which they hold interest and subject to the
         limits of those interests and the applicability of the provisions of statutes including the
         Companies Act.”

[22]     Undeniably, the Companies Act is the main piece of legislation governing company law
         in Seychelles. However, there are other legislation, regulations, guidelines, policies,
         etcetera, all of which constitute the regulatory framework, which a company as a legal
         person should adhere to and comply with. All these are laws and violations of which
         often result in legal punishment, including fines. This explains the increasingly
         mandatory requirement that financial institutions must have a compliance officer (CO)
         today.2 The CO is indispensable in today’s companies as they are responsible for assuring
         that the company can fulfil all its duties under whatever laws and regulations apply to the
         business. Consequently, proper compliance refers to compliance to all laws and
         regulations, and should not be viewed narrowly as Applicant’s attorney suggests.

[23]     Indisputably, Respondent makes a compelling argument for citing the Companies’
         directors for breach of section 3(1) of the Financial Institutions Act, 2004 (hereafter
         “the FIA”) which proscribes a person engaging in ‘banking business” without the
         requisite licence under section 6. As will be apparent below, both companies’ objects do
         not include lending out money, save in those exceptions provided.


2
 Eg, Section 34 of Anti-Money Laundering and Countering the Financing of Terrorism Act, 2020 provides that every
reporting entity should appoint a CO.; Section 23 of the Financial Services Authority Act, 2013 calls for the licensee
to have a compliance function/CO within its organization;

                                                          7
          Case 22-11068-JTD           Doc 3399-2     Filed 10/27/23       Page 49 of 58




[24]   Seeing that the Applicant wears different hats in both Intelvision and Zyl Payon, the
       question is the effect of these designations in his ability to claim title to the companies’
       funds to pay his legal fees.

Loan to Applicant as a Director

[25]   In paragraph 6 of his 11 January 2023 affidavit, the Applicant argues that the monies
       advanced to him and Mr. Benoiton are “not loans but advances against monies that will
       become due to us as we together with others, are Ultimate Beneficial Owners of Zil
       Pasyon Resort Limited.” Mr. Shah’s justification of advancing the loan under section 172
       contradicts Applicant’s statement here.

[26]   Section 172 of the Companies Act states as follows

              “It shall not be lawful for a company to make a loan to any person who is a
              director of it …:

              Provided that nothing in this section shall apply either:

              (c) subject to the next following subsection, to anything done to provide a director
              of the company with funds to meet expenditure incurred or to be incurred by him
              for the purposes of the company or for the purpose of enabling him properly to
              perform his duties as an officer of the company; or….

              2) Paragraphs (b) and (c) of the proviso to subsection (]) shall not authorise the
              making of any loan, or the entering into any guarantee, or the provision of any
              security, except either (a) with the prior authorisation of the company given at a
              general meeting at which the purposes of the expenditure and the amount of the
              loan …, as the case may be, are disclosed in the notice calling the meeting and in
              any advertisement published under section 127(4); or…”

[27]   Applicant is at pains to argue that the moneys will be “advanced” not “loaned” to him,
       and demonstrated how the two were not the same. Conceivably, the reason for taking this
       position is because section 172 clearly prohibits advancing loans to directors, subject to
       certain exceptions. Respondent correctly addresses the real risk of conflict arising in their
                                                 8
          Case 22-11068-JTD         Doc 3399-2      Filed 10/27/23     Page 50 of 58




       exercise of their duty as directors. It would be unreasonable to expect a director (who is
       also a shareholder) in Applicant’s circumstances being objective in the exercise of their
       duty, when his liberty is at stake- hence the need for management of conflict between
       duty and interest. This justifies the decision of the court in Gundelfinger v African
       Textile Manufacturers Ltd 1939 AD 314. The court held:

              “It is an elementary principle of company law, that (apart from explicit power in
              the articles of association) a director cannot vote for the adoption of a contract or
              on a matter in which he is an interested party”. [Emphasis added]

[28]   In Seychelles, the above principle is codified in section 52 which requires that not only
       should directors declare their interest but that, in terms of subsection (2) the director
       “shall not vote in respect of any contract or arrangement in which he is interested…”

[29]   While vehemently rejecting the notion that the desired funds are “loans”, in a “LEGAL
       OPINION ON LOANS TO DIRECTORS” prepared by Mr. Kieran Shah dated 11 January
       2023, Mr Shah on behalf of the Applicant cites the very section 172(c), and argues that
       the funds sought in the present circumstances are “to meet expenditure incurred or to be
       incurred by him for the purposes of the company or for the purpose of enabling him to
       properly perform his duties as an officer of the company”. In effect, the Applicant once
       again agrees that these moneys constitute a loan but are allowable because they fall under
       this category.

[30]   The question is whether these funds sought to be advanced/loaned to Applicant are really
       “for the purposes of the company… enabling him properly to perform his duties.”
       Clearly, payment of director’s legal fees charged on him on a personal matter does not
       advance the interests of the company, and therefore, such costs should be borne by him
       personally. A distinction should be made where a director enters into an agreement on
       behalf of a company, and when he acts for his own benefit. If it is the former, then the
       company would be bound to pay the costs of such venture (see Swiss Reinsurance v
       General Insurance (1999) SLR 117)




                                                9
          Case 22-11068-JTD         Doc 3399-2      Filed 10/27/23     Page 51 of 58




[31]   Subsection (2) further provides that such funds shall not be advanced save there is prior
       authorisation given at a general meeting. Subsection (3) provides that if no such prior
       authorisation is given the loan should be repaid within six months of the next AGM, and
       that same should be repaid within 2 years of the loan being extended. Applicant’s
       attorney submitted that Applicant, with support from the shareholders of both companies
       will be able to repay said amounts within a year of accessing same.

[32]   The challenge for Applicant is that, whether or not he has obtained the support or
       authorisation of shareholders at a general meeting under subsection (c), or under
       subsection 3, it is immaterial given that the proviso for extending loans to directors has
       not been met. The fact is what Applicant needs is a loan but there is no legal basis for
       attaining that loan as he needs the funds for his own personal benefit, not the companies.

[33]   The facts demonstrate that Applicant seeking advancement of funds or a loan, as it rightly
       is, would be a breach of section 172 of the Companies Act. Further, it is a breach of the
       Financial Institutions Act in so far as both of the companies are not in the money lending
       business. The Court in its judgment made reference to other legislation apart from the
       Companies Act when it held: “subject to the limits of those interests and the applicability
       of the provisions of statutes including the Companies Act.” While Applicant professes
       that the money will not be a loan, he justifies the request on the authority of the very
       section dealing with loans, fashioned to fit one of the allowable exceptions. Nevertheless,
       it is clear that the intended transaction is a loan, and in terms of section 181 of the
       Companies Act transactions that violate the loan prohibition are void.

Person Aggrieved by the resolution

[34]   On the same 17 January 2023 submissions, Applicant’s attorney called into question
       Respondent’s challenge of the validity of the resolutions, averring that “the Respondent
       … is acting ultra virus of its powers under the Anti-Corruption Act and not in accordance
       with the Companies Act.” Mr. Bonte cited section 136(1) of the Companies Act which in
       effect states that “within one month after a resolution has been declared to have been
       passed…any person aggrieved may apply to court for a declaration that the declaration
       has not been passed…” Mr. Bonte rightly points out to the fact that in terms of

                                               10
               Case 22-11068-JTD             Doc 3399-2   Filed 10/27/23    Page 52 of 58




           subsection (2), that the Respondent is not an “aggrieved person”, as it is neither a
           shareholder nor debenture holder as per subsections (a) and (b) respectively.

[35]       Notwithstanding that the Applicant does not have locus standi in terms of section 136(2)
           by virtue of not being an “aggrieved person”, the Court has a right to intervene. In the
           case of Zee Entertainment Enterprises Ltd v Invesco Developing Markets Fund &
           Others 26th October 2021,3 G.S. Patel, J on paragraph 70, held, on the question of
           challenging company officers who are determined to bring into effect an illegal
           resolution,:

                    “Sometimes, it happens that a company must be saved from its own shareholders,
                    however well-intentioned. If a shareholder resolution is bound to cause a
                    corporate enterprise to run aground on the always treacherous shoals of statutory
                    compliance, there is no conceivable or logical reason to allow such a resolution
                    even to be considered. Shareholder primacy or dominion does not extend to
                    permitting shareholder-driven illegality. A perfectly legal resolution, if carried,
                    may well result in the diminution of the company's profits or business. That is not
                    a court's concern. But the resolution must be legal. The interpretative question is
                    therefore not over the word 'valid' at all but about the matters proposed to be
                    considered at a requisitioned EGM. And the Court is never foreclosed from
                    considering this.”

[36]       The picture drawn by G.S. Patel, J is similar to the present case, as the shareholders are
           all in support of this illegal resolution, being contrary to section 172. The above
           expressions of the court make it clear that the “court is never foreclosed from considering
           this” and will in the present circumstances.

Compliance with the Companies’ Constitutions

[37]       In effecting their duty, directors are to act within the powers prescribed in the company’s
           articles and memorandum of association, sometimes referred to as the company’s
           constitution. To this end, section 171(1)(a) of the Companies Act states that directors are

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                                                     11
            Case 22-11068-JTD             Doc 3399-2        Filed 10/27/23       Page 53 of 58




        “(a) to exercise their powers in accordance with this Ordinance and within the limits and
        subject to the conditions and restrictions established by the company's memorandum and
        articles;….” [Emphasis added]

[38]    Once again, reference may be made to the aforementioned section 171(1)(a) which
        forbids acting outside the confines of the Companies Act and companies’ constitutions.
        Consequently, companies can only do those things set out in their articles of association.
        More so, by virtue of being public companies, Intelvision and Zyl Pasyon, are subject to
        more onerous accountability and transparency rules than private companies. 4 This serves
        to ensure shareholders’ (and all stakeholder) interests protection.

[39]    In the case of Zyl Pasyon and Intelvision, the objects of the company are stated in Article
        3(a) to (i) and Article 3(a) to (f) of the companies’ Articles of Associations respectively.
        Respondent rightly points out that none of these articles and their sub-articles state can be
        interpreted to mean that the companies can provide loans or “advance” sums of money,
        as objects of the companies. According to section 172(d) an exception is:

                 “(d) in the case of a company whose ordinary business includes the lending of
                 money or the giving of guarantees in connection with loans made by other
                 persons, to anything done by the company in the ordinary course of that
                 business.”

[40]    Both companies are not in the business of lending money. Applicant has not submitted
        any part of the companies’ Articles that point to the contrary, which would justify
        advancing funds to the Applicant as a “director” in the two companies in terms of section
        172(2)(d). If the Articles of Association did make such a provision, they would be invalid
        under section 172, given that money lending does not constitute the business activities of
        the companies.

Money advanced to Applicant as “shareholder”?



4
  Van de Walt, Shareholders' Rights in Private and Public Companies in South Africa: An Overview, Weber Wenzel,
01-Dec-2022 accessed online at https://uk.practicallaw.thomsonreuters.com/w-012-0427?
transitionType=Default&contextData=(sc.Default)&firstPage=true on 26 January 2023.

                                                       12
          Case 22-11068-JTD         Doc 3399-2      Filed 10/27/23    Page 54 of 58




[41]   In his 21st November 2022 letters to the Company Secretaries of Intelvision and Zil
       Pasyon, Mr. Shah alluded to the Companies Act (Cap 40), arguing to the lack of legal
       prohibition to lend money both to the UBO or shareholder, but that “the prohibition is
       against lending money to a director or a person to assist that person (not being an
       employee or officer of the company) to acquire shares in the company.” Mr. Shah’s
       assertions raise the question of the Applicant’s entitlements by virtue of being a
       shareholder.

[42]   In the case of Farm Ag Export v Larue (1994) SLR 69 it was confirmed that a company
       has a separate legal personality from that of the directors and shareholders, meaning that
       company funds belong to the company and do not automatically accrue to the
       shareholder. Section 2 contains the definition section of different classes of shareholders
       and states that a shareholder has “a right to payment of a dividend.” Section 25 prescribes
       the manner in which dividends are dispensed as follows:

               “Ordinary business at an annual general meeting shall consist of the declaration
              of dividend and the approval or rejection of the annual accounts and the
              directors' and auditors' reports.” [Emphasis added]

[43]   Also relevant is Section 77 provides for payment of company profits thus:

              “A general meeting may by ordinary resolution dispose of the profits of the
              company by declaring dividends, … to shareholders in the same proportions as a
              dividend would be paid to them.” [Emphasis added]

[44]   On the other hand, the directors may by the power vested on them by section 78 pay
       dividends to shareholders in this manner:

              “The directors may from time to time pay to the shareholders such interim
              dividends as appear to the directors to be justified by the profits of the
              company.”

[45]   Section 78 requires directors to make certain enquiries and considerations prior to paying
       the dividend. “Justified by the profits of the company” gives insight into the kind of

                                               13
          Case 22-11068-JTD          Doc 3399-2       Filed 10/27/23     Page 55 of 58




       analysis that needs to be made prior to the directors exercising this responsibility. The
       Court cannot go into the question of solvency of the companies. It is obvious however
       that this is an exercise done with prudence and foresight. More so in a situation like the
       present one where the directors and shareholders are one and the same people, and where
       the law in terms of section 82 makes it clear that the directors have a wide discretion on
       the timing and manner in which dividends are declared and paid:

              “Any general meeting declaring a dividend or bonus may direct payment of such
              dividend or …, and the directors shall give effect to such resolution, … as may
              seem expedient to the directors.”

[46]   A New Zealand case of Kinsela v Russell Kinsela Pty Ltd (1986) 4 NSWLR 722
       concerned a transaction entered into by a company with the approval of the shareholders
       at a time when it was balance sheet insolvent, and in anticipation of its imminent
       collapse, for the purpose and with the effect of placing its assets beyond the immediate
       reach of its creditors. Street CJ distinguished authorities to the effect that shareholder
       authorisation or ratification validated any intra vires act by the directors on the basis that
       they “were not intended to, and do not, apply in a situation in which the interests of the
       company as a whole involve the rights of creditors as distinct from the rights of
       shareholders.” (p 730) Hence the significance of the UK position that in cases of
       insolvency or where the company is likely to become solvent in the near future,
       consideration should be given to creditors’ rights.

[47]   The fact that the companies made a profit is a matter of considerations by the Companies
       themselves, and subject to the provisions of the Companies Act. The Court will not find it
       necessary to enquire into this subject given its finding on other issue in this case.

[48]   The Companies are to determine the dividends due to their shareholders, using the same
       considerations as they have in the past. These amounts to be paid to the companies’
       shareholders and the shareholders will use these dividends as they please. Such amounts
       are to be limited to the dividend, not more. Amounts beyond these would be a
       contravention of the Companies Act. Both Applicant and the other shareholders will
       employ such amounts as they see fit.

                                                 14
          Case 22-11068-JTD         Doc 3399-2       Filed 10/27/23    Page 56 of 58




Advancement of funds to Applicant as Ultimate Beneficial Owner (UBO)

[49]   Applicant also claimed the advance payments as an ultimate beneficial owner. He stated
       that the advance shall be subject to the condition that they will be repaid within 1 year at
       a fee of 1%.

[50]   Seychelles enacted the Beneficial Ownership Act, 2020, (hereafter “the BOA”) whose
       main aim is to detect and prevent tax evasion, corruption, money laundering, terrorist
       financing, and other illicit behaviour involving one or more companies, by seeking
       disclosure of the identity of the natural person who ultimately benefits in companies. A
       "beneficial owner" is defined in section 3 of the BOA as:

              “one or more natural persons who ultimately own or control a customer or the
              natural person or persons on whose behalf a transaction is being conducted and
              includes those natural persons who exercise ultimate effective control over a legal
              person or a legal arrangement.”

[51]   The OECD commentary considers a ‘beneficial owner’ to be the person ‘who has the
       right to use and enjoy that income.’ The said right is unfettered of any contractual or
       legal obligation to pass on the income to another person. In the Tax Court of Canada in
       Prevost Car Inc. v. Her Majesty the Queen, 2008 TCC 231, which was affirmed by the
       Federal Court of Appeal, the court herein interpreted the meaning of ‘beneficial owner’
       of dividends under the Canada–Netherlands treaty.

              “As per the court, ‘beneficial owner’ is the true owner who receives the dividends
              for his/her own use and enjoyment, assumes all attributes of the ownership
              including the risk and control of the dividend and is not accountable to anyone for
              how the dividend is used.”

[52]   The above definition makes it clear that a beneficial owner’s entitlement is, just like in
       the case of the shareholder, a dividend. The Companies Act is very clear about the
       requirements and procedures for attainment of the dividend and it is no different here.
       The dividend, as illustrated above, is acquired through a process and certain procedure is
       followed. The directors will not out of the blue decide to “reap” or to declare a dividend.

                                                15
          Case 22-11068-JTD         Doc 3399-2       Filed 10/27/23    Page 57 of 58




[53]




[54]   I therefore finds that the directors’ resolutions in Intevision Limited and Zyl Pasyon
       Resort Limited are unlawful in so far as they purport to grant loans to the directors, which
       is prohibited by section 172 of the Companies Act.

[55]   The companies’ intended conduct would also violate section 3 of the Financial
       Institutions Act as the companies do not have the authority to engage in banking business
       which a “loan” to the director would constitute.

[56]   Applicant is only entitled to a dividend obtained using the usual mechanisms applicable
       in the Companies Act when a dividend is declared and thereafter paid to the shareholder
       and/or beneficial owner.

[57]   No other funds are to be extended to the Applicant without derogating on the law.

[58]   THEREFORE, from the foregoing I make the following orders;

                      1.      The restriction notice is confirmed subject to payment of
                              Applicant’s dividends as well as the other shareholders as per the
                              Companies Act and the Articles of Association of Intelvision
                              Limited and Zyl Pasyon Resort Limited as per normal company
                              practice.

                      2.      Intelvision Limited and Zyl Pasyon Resort Limited may not pay
                              out any other funds outside the provisions of the law.

                      3.      All dividends paid to the shareholders and/or ultimate beneficiary
                              owners may be used by the recipients as they deem fit.




                                                16
           Case 22-11068-JTD        Doc 3399-2      Filed 10/27/23   Page 58 of 58




Signed, dated and delivered at Ile du Port on 10th February 2023.


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R Govinden CJ




                                               17
